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                                                                                   2018 Sep-24 PM 04:32
                                                                                   U.S. DISTRICT COURT
                                                                                       N.D. OF ALABAMA


                    IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF ALABAMA
                              EASTERN DIVISION

DEMETRIA SPEARS,                                )
                                                )
                                                )
                     Plaintiff,                 )
                                                )         CIVIL ACTION NO.
v.                                              )         1:17-CV-2115-ACA
                                                )
TRIDENT ASSET MANAGEMENT,                       )
                                                )
                                                )
                     Defendant.                 )

                                  NOTICE OF SETTLEMENT
          COMES NOW defendant Trident Asset Management, L.L.C. ("Trident"), by

and through its undersigned counsel, and hereby notifies the Court that a tentative

settlement agreement has been reached between the parties. The parties are presently

drafting, finalizing, and executing the settlement and dismissal documents. The

parties request forty-five (45) days to finalize the settlement documents and to file a

stipulation of dismissal with the Court.

          Respectfully submitted this 24th day of September, 2018,

                                         /s/ R. Frank Springfield
                                         R. Frank Springfield (SPR024)
                                         Katherine E. West (WES047)
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                                         Attorneys for Defendant




                             CERTIFICATE OF SERVICE

      I hereby certify that I have served a copy of the foregoing document by Notice
of Electronic Filing, or, if the party served does not participate in Notice of
Electronic Filing, by U.S. First Class Mail, hand delivery, fax, or email on this the
24th day of September, 2018:

                                 Joseph C. Hoeffel, Esq.
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                                    Ambler, PA 19002
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                                                /s/ R. Frank Springfield
                                                OF COUNSEL




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